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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


JANE DOE, et al.,


                Plaintiffs,

      v.                                Civil Docket No. 1:25-cv-286

PAMELA BONDI, in her official
capacity as Attorney General of the
United States, et al.,

                Defendants.




             DEFENDANTS’ RESPONSE TO PLAINTIFFS’
           MOTION FOR TEMPORARY RESTRAINING ORDER
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                                  INTRODUCTION

      Plaintiffs are biological male inmates housed in women’s prisons by the

Federal Bureau of Prisons (“BOP”). They seek emergency injunctive relief to enjoin

BOP’s implementation of Executive Order 14168, which requires BOP to ensure that

“males are not detained in women’s prisons” and to “revise[ ] its policies concerning

medical care” so that “no Federal funds are expended for the purpose of conforming

an inmate’s appearance to that of the opposite sex.” Exec. Order 14168, § 4(a), (c), 90

Fed. Reg. 8615, 2025 WL 327882 (Jan. 20, 2025).

      This Court previously temporarily and then preliminary enjoined BOP from

transferring Plaintiffs Jane Doe, Mary Doe, and Sara Doe (the “original Plaintiffs”)

to men’s facilities. See TRO Opinion, 2025 WL 388218 (D.D.C. Feb. 4, 2025); Prelim.

Inj. Order, ECF No. 44.1         The Court also required BOP to “continue the

plaintiffs’ . . . medical care as [it] existed immediately prior to January 20, 2025.”

Doe, 2025 WL 388218, at *5. The Court held, based on the limited record before it,

that those Plaintiffs had demonstrated “a sufficient likelihood of success” on their

Eighth Amendment claim, but the Court did not find that they are likely to succeed

on their Equal Protection or Administration Procedure Act (“APA”) claims. Id. at *4.

Further, the Court recognized that it was “possible that further briefing of the

constitutional issues at the center of this dispute, or factual discovery, will yield a

different outcome.” Id. at *5. Indeed, BOP is still developing the guidance on medical

care pursuant to the Executive Order.

1 Plaintiffs falsely accuse BOP of being “recalcitrant in following this Court’s earlier

TRO which broadly prevented BOP from enforcing the challenged provisions of the
Executive Order.” Pls.’ Mem. at 4 n.1. While the TRO was in place, BOP did not
transfer, or stop the medical treatment of, any inmate pursuant to the Executive
Order. In fact, BOP consistently has represented that it is still developing guidance
on medical care pursuant to the Executive Order, and it is unknown at this time
whether any medical treatment for gender dysphoria would be stopped and if so,
what alternative treatments would be available.
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      Nine additional plaintiffs have since been added to this action. 1st Am. Compl.,

ECF No. 47. Those Plaintiffs now seek the same emergency relief based on the same

three claims, as well as a separation-of-powers claim.        This Court should deny

Plaintiffs’ motion.

      First, Plaintiffs’ challenge to BOP’s transfer decisions is not subject to judicial

review. The First Step Act makes clear that “[n]otwithstanding any other provision

of law,” BOP determinations as to placement are “not reviewable by any court.” 18

U.S.C. § 3621(b). The Court previously held that § 3621(b) was not sufficiently clear

to bar judicial review of constitutional claims, relying on Webster v. Doe, 486 U.S. 592

(1988).   But the statute at issue in Webster did not contain an express

nonreviewability provision like the one in § 3621(b). Congress could not have been

clearer in the First Step Act that it intended to preclude all judicial review of BOP

placement decisions.

      Second, Plaintiffs have failed to exhaust administrative remedies.            The

Supreme Court has made clear that exhaustion is mandatory. Jones v. Bock, 549

U.S. 199, 211 (2007). As this Court previously recognized, this mandatory exhaustion

requirement applies even if Plaintiffs believe exhaustion would be futile and even if

Plaintiffs are bringing constitutional claims. Doe, 2025 WL 388218, at *3. The Court

nonetheless held that the original Plaintiffs’ claims fell within a “narrow exception”

to the exhaustion requirement, which is when remedies are not “available” to the

inmate. Id. But that exception does not apply because prison officials could still take

“some action” in response to Plaintiffs’ complaints, even if they cannot provide “the

remedial action [the] inmate demands.” Booth v. Churner, 532 U.S. 731, 736 (2001).

As to the potential risk of harm to Plaintiffs, BOP could take steps to minimize such

harm. And as to medical treatment for Plaintiffs’ gender dysphoria or other post-

surgical conditions, even if it were to be limited, BOP could determine that

alternative treatments remain available to ensure that Plaintiffs receive

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constitutionally adequate medical care. The Prison Litigation Reform Act mandates

that prison officials be given such opportunities first.

      Third, Plaintiffs are unlikely to succeed on their Eighth Amendment claim.

Plaintiffs have not shown that housing a biological male who identifies as a woman

in a men’s facility constitutes “unnecessary and wanton infliction of pain” that is

“repugnant to the conscience of mankind.” Estelle v. Gamble, 429 U.S. 97, 103 (1976).

The vast majority (99%) of biological males who identify as female in BOP custody

are housed in men’s facilities. Despite this, the Court previously held that the

original Plaintiffs were likely to succeed on this Eighth Amendment claim because of

statistics from more than a decade ago showing that individuals who identify with

the opposite biological sex generally are at an elevated risk of sexual assault. 2025

WL 388218, at *5.      But the data does not compare between the risks for such

individuals when housed in men’s prisons verses women’s prisons. In fact, that data

actually shows that the rate of sexual victimization in facilities with low rates of

sexual victimization is almost two-and-a-half times higher at female prisons than at

male prisons. Moreover, the data encompassed both federal and state prisons, when

federal prisons collectively have significantly lower rates of assault. Defendants thus

dispute that generalized, dated statistics show an increased risk of harm to Plaintiffs

if they are transferred to low-security men’s facilities with a large number of

nonviolent offenders. Importantly, the rates of violence at Plaintiffs’ current facilities

are comparable to (and, in most cases, higher than) the rates of violence at the

facilities to which Plaintiffs are to be transferred.

      The Court previously also found that the original Plaintiffs are likely to show

an Eighth Amendment violation based on likely denial of hormone therapy. But it is

improper to assume that BOP’s yet-to-be-revised medical care guidance will result in

the denial of necessary medical care to Plaintiffs. Rather, the Executive Order



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explicitly requires that it be implemented in a manner consistent with applicable law,

including the Eighth Amendment.

      Fourth, Plaintiffs are unlikely to succeed on their Equal Protection claim. That

claim is subject to the deferential standard of review set forth in Turner v. Safley, 482

U.S. 78 (1987), under which prison policies will be upheld so long as they are

“reasonably related to legitimate penological interests.” Id. at 89. The original

Plaintiffs argued that heightened scrutiny should instead apply under Johnson v.

California, 543 U.S. 499 (2005), which considered a racial classification. But the

Court correctly recognized that there is “good reason to doubt” that Johnson applies

in this context and declined to hold that the plaintiffs had a likelihood of success on

their Equal Protection claim. 2025 WL 388218, at *4. The new Plaintiffs likewise

have not established a likelihood of success on the Equal Protection claim here.

      Fifth, Plaintiffs Administrative Procedure Act claim is unlikely to succeed. As

this Court previously recognized, “18 U.S.C. § 3625 dictates that the APA ‘does not

apply to’” placement decisions. 2025 WL 388218, at *2; see id. (collecting cases). And

Plaintiffs cannot challenge BOP’s possible future denial of medical care under the

APA either, as BOP has not taken any “final agency action,” 5 U.S.C. § 704, to

implement the Executive Order in that regard.

      Sixth, Plaintiffs are unlikely to succeed on their new claim that the President

acted ultra vires and in violation of separation of powers by directing the Attorney

General to ensure that Federal funds not be used to conform an inmate’s appearance

to that of the opposite sex. No appropriations statute requires Federal funds to be

used for that purpose. The President’s directive as to how BOP should use Federal

funds is well within his Article II power to exercise general administrative control of

federal agencies.

      For all these reasons, the Court should deny Plaintiffs’ motion for a TRO or

preliminary injunction. If, however, the Court enters a TRO, Defendants respectfully

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request 10 days from the date of that order to file an opposition to Plaintiffs’ motion

for a preliminary injunction.

                                    BACKGROUND

A.    BOP’s Inmate Designation Authority and Process

      The Court is familiar with the general background. See Doe, 2025 WL 388218,

at *1. Congress has vested in BOP the decision-making authority to classify and

designate inmates to particular prisons. See 18 U.S.C. § 3621(b). Specifically, BOP

“may designate any available penal or correctional facility that meets minimum
standards of health and habitability established by the Bureau.” Id. BOP also “may

at any time . . . direct the transfer of a prisoner from one penal or correctional facility

to another.” Id.

      There are approximately 2,198 inmates who identify with the opposite

biological sex in BOP facilities and halfway houses. Stover Decl. ¶ 5. Of those, 1,488

are biological male inmates who identify as female, and 710 are biological female

inmates who identify as male. Id.

      Since 2017, BOP has had a manual on managing inmates who identify as the

opposite biological sex, and that manual has been revised over time. From May 2018

to January 2022, for example, the manual provided that in deciding the facility

assignment for an inmate who identifies with the opposite biological sex, BOP would

“use biological sex as the initial determination for designation.” 2018 Guidance § 5.

The guidance further provided that “designation to a facility of the inmate’s identified

gender would be appropriate only in rare cases after consideration of all of the

[identified] factors.” Id. The manual was revised in January 2022 to provide that in

deciding the facility assignment for an inmate who identifies with the opposite

biological sex, BOP would consider, among other things, the inmate’s “current gender

expression.” 2022 Guidance § 5.



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B.    The Prison Rape Elimination Act

      Congress enacted the Prison Rape Elimination Act (“PREA”) in 2003 to

establish national standards for the prevention of sexual assault in prisons and

detention facilities in the United States. See 34 U.S.C. §§ 30301-30309. The statute

does not contain any substantive requirements, nor does it reference inmates who

identify with the opposite biological sex or promote gender ideology. Instead, the

statute established the National Prison Rape Elimination Commission to study the

“penological, physical, mental, medical, social, and economic impacts of prison rape
in the United States.” 34 U.S.C. § 30306(d). The statute also directed the Attorney

General to promulgate regulations based on the Commission’s study, which the

Attorney General did in 2012. See 28 C.F.R. part. 115.

      The resulting PREA regulations require that correctional institutions assess

all inmates during an “intake screening” and upon transfer to another facility for

their risk of being sexually abused by other inmates, 28 C.F.R. § 115.41(a), and that

such screening consider a range of factors, see id. § 115.41(d), including whether the

inmate “is or is perceived to be gay, lesbian, bisexual, transgender, intersex, or gender

nonconforming.”    Id. § 115.41(d)(7).   The agency then must use that screening

information to inform housing and other assignments with “the goal of keeping

separate those inmates at high risk of being sexually victimized and from those at

high risk of being sexually abusive.” Id. § 115.42(a).

      Further, the regulations provide that “[i]n deciding whether to assign a

transgender or intersex inmate to a facility for male or female inmates, and in making

other housing and programming assignments, the agency shall consider on a case-by-

case basis whether a placement would ensure the inmate’s health and safety, and

whether the placement would present management or security problems.”                 Id.

§ 115.42(c).   The regulations also require prison officials to give “serious

consideration” to “[a] transgender or intersex inmate’s own views with respect to his

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or her own safety.” Id. § 115.42(e).       There is no requirement under the PREA

regulations that an inmate who identifies with the opposite biological sex be placed

in a facility for the opposite biological sex.

       The PREA regulations further require correctional institutions such as BOP to

“provide multiple internal ways for inmates to privately report sexual abuse and

sexual harassment, retaliation by other inmates or staff for reporting sexual abuse

and sexual harassment, and staff neglect or violation of responsibilities that may

have contributed to such incidents.” 28 C.F.R. § 115.51(a). “The agency shall also
provide at least one way for inmates to report abuse or harassment to a public or

private entity or office that is not part of the agency, and that is able to receive and

immediately forward inmate reports of sexual abuse and sexual harassment to

agency officials, allowing the inmate to remain anonymous upon request.”             Id.

§ 115.51(b).

C.     BOP’s Security Protocol for Inmate Safety

       BOP recognizes the importance of protecting inmates from sexually abusive

behavior and ensuring their continued safety. See generally Stover Decl. ¶¶ 27–31.

BOP Program Statement 5324.12 states that BOP has a “zero tolerance” policy

toward all forms of sexual activity in the custodial environment, including sexual

abuse and sexual harassment. Id. ¶ 27. Routine training is provided to all BOP staff

to help detect incidents, perpetrators, and inmate victims of sexually abusive

behavior. Id. BOP staff are educated to intervene properly and in a timely manner.

Id.   BOP staff are also required to document, report, and investigate reported

incidents.     Id.   Moreover, BOP is responsible for disciplining and referring for

prosecution perpetrators of sexually abusive behavior against other inmates. Id.

       BOP trains all institutional staff to monitor and to intervene when they

observe problematic interactions between inmates. Id. ¶ 28. At each BOP institution,

staff review a “Posted Picture File” of inmates who are potentially disruptive, escape

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risks, or present a threat to staff or institutional security. Id. The BOP identifies

inmates who, because of their prior record, current offense, institutional adjustment,

or other factors, pose a significant threat to inmate or staff safety, the institution’s

security, or the surrounding community’s welfare. Id. The Posted Picture File is

updated at least quarterly. Id. Institution staff review the file regularly to determine

which inmates have a history of assaultive behavior or sexual offenses. Id.

       BOP’s PREA intake screening of inmates includes asking inmates about their

own perception of their safety and history of sexual assault. Id. ¶ 29. BOP staff also

assess the inmate’s general physical appearance and presentation and review the

inmate’s criminal history. Id. If at any time BOP staff believe that an inmate’s safety

may be seriously jeopardized by placement in the general population, the inmate may

be housed in more restrictive conditions as a protective custody case in the Special

Housing Unit. Id. ¶ 30. When an inmate is placed in administrative detention for

placement, the Warden or a designee must review the placement within two

workdays of the placement to determine if continued protective custody is necessary.

Id.   This includes reviewing documents that led to the inmate being placed in

protective custody and any other documents pertinent to the inmate’s protection. Id.

       Inmates have numerous ways to report sexual assault or sexual harassment.

Id. ¶ 31. An inmate can send the Warden an “Inmate Request to Staff Member” or a

letter reporting the sexually abusive behavior. Id. An inmate may also send a letter

to the Regional Director or Director of the Bureau of Prisons. Id. Finally, an inmate

can file a Request for Administrative Remedy. Id. If the inmate determines that the

complaint is too sensitive to file with the Warden, the inmate can file the

administrative remedy directly with the Regional Director. Id. The inmate can also

email or write the Office of Inspector General (“OIG”), which investigates certain

allegations of staff misconduct. Id.



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      Finally, an inmate can send reports of sexual abuse to a dedicated email

address managed by OIG, and the inmate can request that the report remain

confidential. Id. OIG is independent of BOP. Id. OIG protects the identity of victims

and other individuals who report allegations to the greatest extent possible, while

still thoroughly vetting and investigating the allegations. Id.

D.    The Executive Order and BOP’s Implementation

      On January 20, 2025, the President issued an Executive Order titled,

“Defending Women from Gender Ideology Extremism and Restoring Biological Truth
to the Federal Government.” The Executive Order provides that “[i]t is the policy of

the United States to recognize two sexes, male and female,” Exec. Order 14168, § 2,

90 Fed. Reg. 8615, and that ‘“sex’ shall refer to an individual’s immutable biological

classification as either male or female,” id. § 2(a). Section 4(a) of the Executive Order,

titled “Privacy in Intimate Spaces,” provides:

      The Attorney General and Secretary of Homeland Security shall ensure
      that males are not detained in women’s prisons or housed in women’s
      detention centers, including through amendment, as necessary, of Part
      115.41 of title 28, Code of Federal Regulations and interpretation
      guidance regarding the Americans with Disabilities Act.

Section 4(c) of the Executive Order further provides:

      The Attorney General shall ensure that the Bureau of Prisons revises
      its policies concerning medical care to be consistent with this order, and
      shall ensure that no Federal funds are expended for any medical
      procedure, treatment, or drug for the purpose of conforming an inmate’s
      appearance to that of the opposite sex.
The Executive Order also requires that “it shall be implemented consistent with

applicable law and subject to the availability of appropriations.” Exec. Order § 8(b).

      The nine new Plaintiffs are biological males housed in BOP women’s facilities.

They allege that they suffer from gender dysphoria and that some of them have had

sex-reassignment surgeries. 1st Am. Compl. ¶¶ 10, 17, 20, 38.


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Stover Decl. ¶¶ 19–23.

      Additionally, the facilities chosen for each of the Plaintiffs currently house

other biological male inmates who identify as female:



                                                          Decl. ¶ 24.

E.    Procedural History

      The original complaint was filed on January 30, 2024, by the three original

Plaintiffs, raising claims under (i) the Equal Protection Clause of the Fifth

Amendment, (ii) the Eighth Amendment, (iii) the Rehabilitation Act, and (iv) the

Administrative Procedure Act. This Court later granted a TRO and a preliminary

injunction as those Plaintiffs. On February 22, Plaintiffs filed the First Amendment

Complaint, adding nine more Plaintiffs and an additional ultra vires claim. ECF No.

40. They also moved for a TRO or a preliminary injunction, relying on all but the

Rehabilitation Act claim.

                                 LEGAL STANDARD

      A temporary restraining order is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). To obtain such extraordinary relief,

a plaintiff “must show (1) ‘he is likely to succeed on the merits,’ (2) ‘he is likely to

suffer irreparable harm in the absence of preliminary relief,’ (3) ‘the balance of

equities tips in his favor,’ and (4) issuing ‘an injunction is in the public interest.’”

Hanson v. District of Columbia, 120 F.4th 223, 231 (D.C. Cir. 2024) (quoting Winter,

555 U.S. at 20). Where, as here, the defendants are government entities or official

sued in their official capacities, the balance of equities and the public interest factors

merge. See Nken v. Holder, 556 U.S. 418, 435 (2009).




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                                    ARGUMENT

I.    THIS COURT LACKS AUTHORITY TO REVIEW THIS CASE
      A.      Section 3621’s Nonreviewability Provision Bars Plaintiffs’
              Challenge to BOP’s Placement Decision
      Congress has vested in BOP the discretion to “designate the place of the

prisoner’s imprisonment” and to “direct the transfer of a prisoner from one penal or

correctional facility to another.” 18 U.S.C. § 3621(b). “Federal courts have long held

that Section 3621(b) gives the executive branch, not the courts, primary authority

with regard to a prisoner’s place of confinement.” Foy v. United States, 285 F.R.D.
407, 410 (N.D. Iowa 2012). And in 2018, Congress amended § 3621(b) to expressly

bar judicial review of BOP’s designation decisions. Specifically, Congress provided

that “[n]otwithstanding any other provision of law, a designation of a place of

imprisonment under [18 U.S.C. § 3621(b)] is not reviewable by any court.” Id.

      In light of this nonreviewability provision, “[c]ourts have consistently held that

placement questions are not reviewable.”       United States v. Vang, No. CR 16-277,

2020 WL 4704875, at *2 (D. Minn. Aug. 13, 2020) (collecting cases). Plaintiffs contend

that § 3621(b)’s nonreviewability provision applies only to BOP’s initial “designation

of a place of imprisonment,” but courts have applied § 3621(b) to bar review of

transfer decisions as well. See, e.g., Porche v. Salazar, No. 3:19-CV-00077, 2019 WL

1373683, at *1 (D. Or. Mar. 5, 2019); Wills v. Barnhardt, No. 21-1383, 2022 WL

4481492, at *2 (10th Cir. Sept. 27, 2022). And the Tenth Circuit has held that
§ 3621(b) bars review even of constitutional claims. See Wills, 2022 WL 4481492, at

*2 (10th Cir. Sept. 27, 2022) (rejecting argument that § 3621(b) did not apply to due

process and equal protection challenges because “§ 3621(b) contains no such limiting

language”).

      This Court nonetheless previously found that § 3621(b) “do[es] not divest the

Court of jurisdiction to entertain constitutional claims” because the statute was “not


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sufficiently explicit to bar consideration” of such claims. 2025 WL 388218, at *2. The

Court so concluded based primarily on Webster v. Doe, 486 U.S. 592 (1988), where the

Supreme Court held that a statute that gave the CIA director “discretion” to

terminate employees did not preclude review of constitutional claims. Id. at 603.

Unlike the statute in Webster, however, § 3621(b) not only gives BOP broad discretion

to make placement decisions, but also contains an express nonreviewability provision

that was absent in Webster. See 18 U.S.C. § 3621(b) (designation decisions are “not

reviewable by any court”). Congress easily could have carved out constitutional

claims, but it did not do so. Congress thus could not have been clearer that it intended

to preclude all judicial review of placement decisions.

      The Court’s 2013 opinion in Royer v. BOP, 933 F. Supp. 2d 170 (D.D.C. 2013),

is similarly inapposite. Royer concerned a different provision of the Prison Litigation

Reform Act—18 U.S.C. § 3625—which provides that APA does not apply to

designation decisions under § 3621. The Court held that § 3625 was insufficiently

clear to preclude judicial review of constitutional claims. 933 F. Supp. 2d at 181–82.

But Royer did not address the nonreviewability provision at issue here. Nor could it

have, as Congress added that provision in 2018, five years after Royer was decided.

See First Step Act of 2018, Pub. L. 115-391 (Dec. 21, 2018), 132 Stat. 5194. Royer

thus does not support the conclusion that the Court has authority to review Plaintiffs’

challenge to BOP’s transfer decisions, despite the language in § 3621.

      Nor can Plaintiffs avoid § 3621(b) on the ground that they are not challenging

“individualized   determinations    made    under    § 3621(b),”     but   rather   “BOP’s

blanket . . . transfer policy implementing Executive Order 14168.” Pls.’ Mem. at 20.

BOP is implementing the Executive Order by designating places of imprisonment

pursuant to its authority under § 3621(b). And § 3621(b) does not bar review of

“individualized determinations,” but of “designations of a place of imprisonment”—

which is precisely what Plaintiffs ask this Court to review of in this case.

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       B.      Plaintiffs Have Failed to Exhaust Administrative Remedies

       Plaintiffs’ claims are independently barred because Plaintiffs have failed to

exhaust available administrative remedies.         The Prison Litigation Reform Act

(“PLRA”) provides:

       No action shall be brought with respect to prison conditions under
       section 1983 of this title, or any other Federal law, by a prisoner confined
       in jail, prison, or other correctional facility until such administrative
       remedies as available are exhausted.
42 U.S.C. § 1997e(a).     The Supreme Court has emphasized “that exhaustion is

mandatory under the PLRA and that unexhausted claims cannot be brought in

court.” Jones v. Bock, 549 U.S. 199, 211 (2007). “Not even facially meritorious

constitutional claims are exempt, nor are claims that the inmate believes—rightly or

wrongly—to be futile.” Doe, 2025 WL 388218, at *3.           So long as administrative

remedies are “available,” “a court may not excuse a failure to exhaust” under the

PLRA, “even to take [special] circumstances into account.” Ross v. Blake, 578 U.S.

632, 638–39 (2016). A procedure is “available” even if it cannot provide “the remedial

action an inmate demands”; prison officials need only have “authority to take some

action in response to a complaint.” Booth v. Churner, 532 U.S. 731, 736 (2001).

       Exhaustion of administrative remedies “serves two main purposes.” Woodford

v. Ngo, 548 U.S. 81, 89 (2006). “First, exhaustion protects ‘administrative agency

authority,’ giving an agency “an opportunity to correct its own mistakes with respect

to the programs it administers before it is haled into federal court.” Id. (quoting

McCarthy v. Madigan, 503 U.S. 140, 145 (1992)). “Second, exhaustion promotes

efficiency.”   Id.   “Even where a controversy survives administrative review,

exhaustion of the administrative procedure may produce a useful record for

subsequent judicial consideration.” Id.

       Here, BOP’s administrative process is “available” to Plaintiffs.               BOP’s

Administrative Remedy Program has four levels: (i) aggrieved individuals must first


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attempt an informal resolution with unit staff, then (ii) submit an administrative

remedy request to the Warden, then (iii) appeal to BOP’s Regional Director, and then,

(iv) if necessary, appeal to BOP’s General Counsel. See 28 C.F.R. §§ 542.13-.15.

Plaintiffs do not claim to have “complete[d] the administrative review process in

accordance with the applicable procedural rules.” Jones, 549 U.S. at 218.

      At a minimum, requiring exhaustion here would “produce a useful record for

subsequent judicial consideration,” Woodford, 548 U.S. at 89, as the record is

currently undeveloped as to how Plaintiffs’ medical care will change going forward, if

at all, because BOP is still revising its guidance on the medical care at issue here. As

for the claim that Plaintiffs will likely face sexual assault in the designated male

prison, BOP should also be allowed to assess how to mitigate such risks in Plaintiffs’

case if the existing significant measures are insufficient. See Stover Decl. ¶¶ 27–31

(discussing BOP’s protocols to ensure inmate safety). Under the PLRA, BOP is

entitled to have the first opportunity to assess any challenge to its determinations

and to take appropriate actions.

      This Court previously held that the original Plaintiffs’ claims nonetheless fell

within a “narrow exception” to the exhaustion requirement for cases where

administrative remedies are not “available.” 2025 WL 388218, at *3. Specifically,

the Court held that administrative remedies were not “available” because they

“operate[] as a simple dead end—with officers unable or consistently unwilling to

provide any relief to aggrieved inmates.” Id. (quoting Ross, 578 U.S. at 642).

      But Plaintiffs’ claims do not fit within the narrow “dead end” exception. As the

Supreme Court explained in Ross, that exception might apply, for example, where “a

prison handbook directs inmates to submit their grievances to a particular

administrative office—but in practice that office disclaims the capacity to consider

those petitions.” 578 U.S. at 643. Or it might apply if prison officials “have apparent

authority, but decline ever to exercise it.” Id. But that is not the case here. To date,

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Plaintiffs have not been denied any medical care, and, in any event, Plaintiffs could

grieve concerns regarding any such denial under BOP’s administrative scheme. And

even if BOP’s yet-to-be revised guidance on medical care imposes some limits on what

medical care Plaintiffs will receive, prison officials would still have the authority to

take “some action” in response to the complaint, Booth, 532 U.S. at 736, by, for

example, prescribing a possible alternative treatment to treat Plaintiffs’ health

concerns. Indeed, the Executive Order directs BOP to implement the Executive Order

in a manner consistent with applicable law, including the Eighth Amendment. To

the extent Plaintiffs believe that medically necessary care might be withheld in a

manner that violates the Eighth Amendment, BOP should in the first instance assess

the question of appropriate medical care.

      Plaintiffs likewise would be able to grieve any safety concerns associated with

transfer. Prison officials would then have an opportunity to take “some action” in

response, by, for example, taking additional steps to ensure Plaintiffs’ safety,

including transferring Plaintiffs to a different men’s facility. While prison officials

would lack discretion to transfer Plaintiffs back to a women’s facility, the proper

standard is not whether BOP can give Plaintiffs exactly the remedy they seek.

      Plaintiffs’ claims are thus unlike the claims at issue in Kaemmerling v. Lappin,

553 F.3d 669 (D.C. Cir. 2008), which this Court cited in its TRO decision.           In

Kaemmerling, BOP “could not articulate a single possible way the prison’s

administrative system could provide relief or take any action at all in response to

Kammerling’s claim that collecting his DNA would violate his statutory and

constitutional rights.” 553 F.3d at 675–76. The prison grievance process therefore

could not authorize any action on Kaemmerling’s complaint. Id. Here, by contrast,

prison officials could take some action in response to a complaint about safety

concerns or medical care.     While that action may not be “the remedial action

[Plaintiffs] demand[],” again that is not required for remedies to be considered

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“available” under the PLRA. Booth, 532 U.S. at 736. Accordingly, Plaintiffs must

comply with the PLRA’s exhaustion requirement.

II.   PLAINTIFFS HAVE NOT DEMONSTRATED A LIKELIHOOD OF
      SUCCESS ON THE MERITS

      A.     Plaintiffs Are Unlikely to Succeed on their Eighth Amendment
             Claim
      Plaintiffs are unlikely to succeed on their Eighth Amendment claim. Plaintiffs

contends that BOP has acted with deliberate indifference to Plaintiffs’ safety and

medical needs in two ways: (1) by “failing to protect [Plaintiffs] from a serious risk of

bodily harm” because Plaintiffs will be transferred to men’s facilities, and (2) by

adopting a “blanket ban on gender dysphoria treatment.” Pl.’s Mem. at 7–8. Neither

argument justifies the issuance of emergency relief.

      1.    Plaintiffs are not likely to succeed on a “failure to protect” claim.

      Plaintiffs are unlikely to establish that BOP has “recklessly disregarded” an

“excessive risk” to Plaintiffs’ safety by transferring them to men’s facilities. Bernier

v. Allen, 38 F.4th 1145, 1151 (D.C. Cir. 2022). The Eighth Amendment’s prohibition

against “cruel and unusual punishments” is meant to prohibit “unnecessary and

wanton infliction of pain,” which is “repugnant to the conscience of mankind.” Estelle

v. Gamble, 429 U.S. 97, 103 (1976).        As the D.C. Circuit has recognized, “the

‘deprivations’ that trigger Eighth Amendment scrutiny are deprivations of essential

human needs.” Inmates of Occoquan v. Barry, 844 F.2d 828, 836 (D.C. Cir. 1988);

accord Women Prisoners, 93 F.3d at 928. An inmate thus can establish an Eighth

Amendment claim only if he can show “a prison official knew that he faced a

substantial risk of serious harm but disregarded that risk by failing to take

reasonable measures.” Stoddard v. District of Columbia, 764 F. Supp. 2d 213, 218

(D.D.C. 2011) (citing Farmer v. Brennan, 511 U.S. 825, 847 (1994)). The “wanton

disregard” to a prisoner’s needs “must be akin to criminal recklessness.” Kosilek v.

Spencer, 774 F.3d 63, 83 (1st Cir. 2014) (en banc)).

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      Plaintiffs cannot make that showing here. Plaintiffs cannot show that housing

a biological male who identifies as a woman in a men’s facility is “repugnant to the

conscience of mankind,” Estelle, 429 U.S. at 103, especially given the practical reality

that nearly all (99%) of biological male prisoners who identify as female are housed

in men’s facilities. See Stover Decl. ¶ 5.

      Plaintiffs nonetheless suggests (incorrectly) that “[c]ourts have consistently

found” an Eighth Amendment violation “when officials knowingly house transgender

women in men’s prisons.” Pl.’s Mem. at 8. But none of the cases Plaintiffs cite stands

for that broad proposition. Rather, those cases involve allegations that prison guards

disregarded some particularized risk of harm to an inmate who identified with the

opposite biological sex that resulted in actual violence. For example, in Doe v. District

of Columbia, prison guards had locked the plaintiff in a cell alone with a man who

was alleged to have raped other inmates, notwithstanding instructions that the

plaintiff be “housed alone.” 215 F. Supp. 3d at 64. The guards then failed to check

on the plaintiff overnight, and the plaintiff was raped. Id. On those facts, the court

denied the defendant’s motion for summary judgment, holding that a reasonable jury

could conclude the prison guards “knew they were placing [the plaintiff] at

substantial risk of being raped.” Id. at 77; see also Lojan v. Crumbsie, No. 12 CV.

0320 LAP, 2013 WL 411356, at *4 (S.D.N.Y. Feb. 1, 2013) (denying motion for

summary judgment where prison officials allowed prison trustee access to plaintiff,

notwithstanding the trustee’s gang affiliation and history of violence).

      Here, by contrast, Plaintiffs contend that housing them in any men’s facility

by itself constitutes cruel and unusual punishment because inmates who identify

with the opposite biological sex have an increased risk of victimization. See Pls.’

Mem. at 7. But there is no authority or limiting principle for the proposition that

inmates must be placed in a facility consistent with their self-identified sex because

of this generalized risk. More importantly, there is no evidence suggesting that

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transferring Plaintiffs to the low-security facilities BOP has identified would

substantially increase any risk of harm to Plaintiffs. Indeed, as demonstrated above,

the rates of violence at Plaintiffs’ current women’s facilities are in most cases higher

than the rates of violence at the men’s facilities to which Plaintiffs will be transferred.

See Stover Decl. ¶¶ 19–24.

       Plaintiffs cite general statistics in all “state and federal prisons” from 2007 to

2012 concerning sexual assaults on inmates who identify with the opposite biological

sex. 1st Am. Compl. ¶ 85; see DOJ Off. of Justice Programs, Sexual Victimization in

Prisons and Jails Reported By Inmates, 2011-123 and Supplemental Tables4. But the

statistical report did not speak to whether a transgender inmate is more likely to be

sexually victimized in a facility consistent with his or her biological sex than if the

inmate were to be housed in a facility consistent with the inmate’s preferred sex. In

fact, the statistical report itself undermines Plaintiffs’ contention that their transfer

to the identified male facilities will necessarily increase the risk of harm. The report

indicates, for example, that the rate of sexual victimization in facilities with low rates

of sexual victimization is almost two-and-a-half times higher at female prisons (8.5%)

than at male prisons (3.7%). See DOJ Off. of Justice Programs, Sexual Victimization

in Prisons and Jails Reported By Inmates, 2011-12 at 15 (Table 5).5 Even more

significantly, the report identifies many male facilities in the federal prison system

that have very low rates of sexual victimization, see id. at 48 (Appendix Table 1),

including a number of facilities that “had no reported incidents of sexual victimization

of any kind” when surveyed, id. at 15.

       In addition, more recent data shows that the rate of sexual victimization is

generally much lower in federal prisons than in state prisons. For example, data from


3 Available at https://bjs.ojp.gov/content/pub/pdf/svpjri1112.pdf
4 Available at https://bjs.ojp.gov/content/pub/pdf/svpjri1112_st.pdf
5 Available at https://bjs.ojp.gov/content/pub/pdf/svpjri1112.pdf


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the Bureau of Justice Statistics shows that in 2019, rates of sexual victimization were

nearly three times higher in state prisons than in federal prisons (20.6% rate in state

prisons vs. 7.4% rate in federal prisons). See DOJ Off. of Justice Programs, Sexual

Victimization Reported by Adult Correctional Authorities, 2019-20 – Statistical Tables

at 8 (Table 1).6 And these statistics concern all federal prisons—not the particular

low-security facility to which Plaintiffs are to be transferred.

      For similar reasons, Plaintiffs’ reference to BOP regulations governing the

screening of inmates for risk of victimization and abuse is unavailing. See 1st Am.

Compl. ¶ 85 (citing 28 C.F.R. §§ 115.41(d)(7), 115.42). Like the statistical report

Plaintiffs cite, those regulations recognize that inmates who identify with the

opposite biological sex are, as a general matter, at higher risk of sexual victimization

than other inmates. But they do not adopt the position that the placement of a

biological male who identifies as female in a male prison will necessarily increase the

risk of harm to that inmate. The regulations instead require officials to take an

individual’s identified sex into account in deciding the facility to which that

individual should be assigned.

      Moreover, BOP has provided a declaration explaining that, in making the

housing determination, it has considered Plaintiffs’ medical and psychology record,

the potential risk of sexual assault, as well as the characteristics of the male facilities

to which Plaintiffs are to be transferred. See Stover Decl. ¶¶ 10–18. BOP intends to

minimize the risk of harm to Plaintiffs by placing them in low security institutions

with many non-violent offenders. Id. Those actions do not represent a “disregard” of

a substantial a risk of harm; they represent “reasonable measures” to respond to it.

Stoddard, 764 F. Supp. 2d at 218.




6 Available at https://bjs.ojp.gov/document/svraca1920st.pdf.


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      This Court previously nonetheless concluded that, based on the limited record

before it, the original Plaintiffs had demonstrated “a sufficient likelihood of success

to justify” preliminary relief as to their Eighth Amendment claim. 2025 WL 388218,

at *4. To support that conclusion, the Court relied on two allegations in Plaintiffs’

complaint: (i) that inmates who identify with the opposite biological sex generally are

at elevated risk of physical and sexual violence relative to other inmates when housed

in a facility corresponding to their biological sex, and (ii) that placement in a male

penitentiary by itself will exacerbate the plaintiffs’ symptoms of gender dysphoria.

Id. at *5 (citing Compl. ¶¶ 5, 44). But neither allegation supports the conclusion that

housing Plaintiffs in men’s facilities would constitute cruel and unusual punishment.

      As to the first point, there is no factual support for the proposition.        As

demonstrated fully above, the statistical report Plaintiffs cite does not speak to

whether a transgender inmate is more likely to be sexually victimized in a facility

consistent with his or her biological sex than if the inmate were to be housed in a

facility consistent with the inmate’s preferred sex. In fact, according to the report,

the rate of sexual victimization in facilities with low rates of sexual victimization is

almost two-and-a-half times higher at female prisons than at male prisons.

Moreover, Plaintiffs’ argument about the general risks that persons who identify with

the opposite biological sex face proves too much, as it would suggest that all such

inmates housed according to their biological sex have a viable Eighth Amendment

claim. That cannot be correct. And as explained, it ignores the facts that BOP has

taken steps to minimize risks to Plaintiffs by selecting appropriate low-security

facilities with a large number of non-violent offenders, and that there are significant

security protocols in place to address sexual assault and harassment. See Stover

Decl. ¶¶ 26–31. Thus, contrary to the Court’s prior suggestion in its TRO decision,

Defendants do dispute that transferring Plaintiffs to the specified low-security male

facilities “would substantially increase the likelihood of them experiencing [a] parade

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of harms.” 2025 WL 388218, at *5. There is no evidence in the record supporting

such allegations.

      As to the second point, Plaintiffs have offered no evidence supporting the

allegation that placement in a male facility will itself exacerbate symptoms of gender

dysphoria, let alone that it would cause the type of serious psychological harm

necessary to establish an Eighth Amendment violation.              Plaintiffs’ expert’s

declaration does not state that being housed in a women’s facility is medically

necessary.   See Ettner Decl., ECF No. 5-6.      Nor do Plaintiffs cite any case law

supporting that proposition. There are 2,198 prisoners in BOP custody who identify

with the opposite biological sex, and only a handful of them are housed in facilities

inconsistent with their biological sex. It is well settled that the Eighth Amendment

does not require that the care provided to prisoners be “perfect, the best obtainable,

or even very good.” Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1266 (11th

Cir. 2020). Nor does it require prison officials to provide inmates with their preferred

care or the care that would be most “psychologically pleasing” to them. Id. at 1273.

While the government previously decided to house Plaintiffs in female facilities, the

decision to no longer do so is not an Eighth Amendment violation.

      2.     Plaintiffs are unlikely to succeed on a claim regarding medical
             care
      Plaintiffs’ Eighth Amendment challenge for denial of medical care is premised

on the assumption that Plaintiffs will be deprived hormone therapy.           But that

challenge is premature because as discussed above, BOP is still revising its guidance

on medical care. See Exec. Order, §§ 4(c), 8(b). Notably, the Eighth Amendment

“proscribes only medical care so unconscionable as to fall below society’s minimum

standards of decency.” Kosilek, 774 F.3d at 96; see also Lamb v. Norwood, 899 F.3d

1159, 1162 (10th Cir. 2018) (“prison officials do not act with deliberate indifference

when they provide medical treatment even if it is subpar or different from what the


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inmate wants”). Only “[d]eliberate indifference to serious medical needs of prisoners”

can constitute an Eighth Amendment violation. Erickson v. Pardus, 551 U.S. 89, 90

(2007). And a prisoner must satisfy both: (1) an objective prong that requires proof

of a serious medical need, and (2) a subjective prong that mandates a showing of

prison administrators’ deliberate indifference to that need. Bernier, 38 F.4th at 1151.

      The Court cannot assume that BOP’s application of the yet-to-be revised

guidance on the medical care at issue will violate the Eighth Amendment or that

Plaintiffs are likely to meet the above stringent standard as to warrant emergency

relief now. Cf. Order Denying Mot. for Prelim. Inj., Keohane v. Dixon, 4:24-cv-00434,

(N.D. Fla, Dec. 27, 2024) (ECF No. 55) (suit challenging state correctional

department’s reevaluation of policies concerning hormone treatment for biologically

male inmates where new state law prohibits “expending any state funds to purchase

cross-sex hormones for the treatment of Gender Dysphoria”; preliminary injunction

motion denied because the correctional department indicated that it would provide

“constitutionally adequate care”).

      That is especially so because there is an ongoing debate in the medical

community over the necessity or efficacy of certain treatments for gender dysphoria.

That is one of the central issues in United States v. Skrmetti, No. 23-477, currently

pending before the Supreme Court. As discussed at oral argument in that case, a

recent comprehensive report in the United Kingdom found that while deaths by

suicide in individuals who identify with the opposite biological sex are tragically

above the national average, there is “no evidence that gender-affirmative treatments

reduce this.” Independent Review of Gender Identity Services for Children and Young

People:   Final Report at 195 (April 2024), available at https://cass.independent-

review.uk/home/publications/final-report/.     Indeed, “emerging gender dysphoria

treatments”—such as “cross-sex hormones, and gender reassignment surgery—are

matters of significant scientific debate and uncertainty.” Kadel v. Folwell, 100 F.4th

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122, 193 (4th Cir. 2024) (Wilkinson, J., dissenting); see Edmo v. Corizon, Inc., 949

F.3d 489, 490 (9th Cir. 2020) (O’Scannlain, J., dissenting) (calling treatment for

gender dysphoria “a new, rapidly changing, and highly controversial area of medical

practice”). And “various circuits . . . have rejected Eighth Amendment claims for

hormone therapy . . . to treat gender dysphoria, at least in individual cases.” Gibson

v. Collier, 920 F.3d 212, 223 n.8 (collecting cases).

      In concluding that the original Plaintiffs had nevertheless established a

likelihood of success on the limited TRO record, the Court relied on Dr. Ettner’s

declaration explaining the symptoms that may arise from failure to treat gender

dysphoria. Doe, 2025 WL 388218, at *5. But there is nothing in the record at this

stage suggesting that BOP will “fail[] to treat” gender dysphoria. Id. While the

Executive Order prohibits expending Federal funds for certain treatments whose

purpose is to “conform an inmate’s appearance to that of the opposite sex,” that by

itself says nothing about whether BOP would stop treating gender dysphoria when

medically necessary. Accordingly, contrary to the Court’s suggestion, Defendants do

dispute that Plaintiffs likely will suffer the symptoms that Plaintiffs’ expert

describes, especially when it is unknown at this time how BOP will revise its guidance

on medical care.

      B.     Plaintiffs Are Unlikely to Succeed on Their Equal Protection
             Claim
      Plaintiffs are also unlikely to succeed on the merits. Plaintiffs first argue that

BOP’s implementation of Sections 4(a) and 4(c) of the Executive Order violates equal

protection. The Fourteenth Amendment’s Equal Protection guarantee, as applied to

the Federal Government through the Due Process Clause of the Fifth Amendment,

Bolling v. Sharpe, 347 U.S. 497, 499 (1954), “requires the government to treat

similarly situated persons alike,” Women Prisoners, 93 F.3d at 924 (citing City of

Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439 (1985)). “The Constitution,


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however, ‘does not require things which are different in fact or opinion to be treated

in law as though they were the same.’” Id. (quoting Plyler v. Doe, 457 U.S. 202, 216

(1982)); accord Michael M. v. Superior Court, 450 U.S. 464, 469 (1981). “Thus, the

dissimilar treatment of dissimilarly situated persons does not violate equal

protection.” Women Prisoners, 93 F.3d at 924 (citation omitted).

      For example, the D.C. Circuit in Women Prisoners held that prison

administrators’ failure to provide women inmates the same programs as those

available in men’s facilities did not violate equal protection because the female and

male inmates in the D.C. prison system were not similarly situated for a variety of

reasons. Citing Turner v. Safley, 482 U.S. 78, 85–85, 89 (1987), which generally

governs the standard for analyzing alleged unconstitutional prison practices, the D.C.

Circuit observed that to require prison officials to do otherwise would “completely

eviscerate[] the deference that federal courts are obliged to give prison

administrators.” Women Prisoners, 93 F.3d at 926–27.

      Under Turner’s deferential standard, courts “are to uphold prison regulations

that ‘impinge on inmates’ constitutional rights’ as long as those regulations are

‘reasonably related to legitimate penological interests.’” Hatim v. Obama, 760 F.3d

54, 58 (D.C. Cir. 2014) (quoting Turner, 482 U.S. at 84–85, 89). In Turner, the Court

held that prison regulations restricting inmate marriages and inmate-to-inmate

correspondence were not subject to strict scrutiny despite the implication of

fundamental rights. As the Court recognized, a “deferential” standard is “necessary

if ‘prison administrators, and not the courts, are to make the difficult judgments

concerning institutional operations.’” Turner, 482 U.S. at 88 (alterations omitted)

(quoting Jones v. North Carolina Prisoners’ Union, 433 U.S. 119, 128 (1977)); see also

Rhodes v. Chapman, 452 U.S. 337, 351 n.16 (1981) (prison administration is

“peculiarly within the province of the legislative and executive branches of

government”); Bell v. Wolfish, 441 U.S. 520, 548 (1979) (“[T]he operation of our

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correctional facilities is peculiarly the province of the Legislative and Executive

Branches of our Government, not the Judicial.”); Preiser v. Rodriguez, 411 U.S. 475,

491–92 (1973) (“It is difficult to imagine an activity in which [the government] has a

stronger interest, or one that is more intricately bound up with state laws,

regulations, and procedures, than the administration of its prisons.”). Thus, courts

“must accord prison administrators wide-ranging deference in the adoption and

execution of policies and practices that in their judgment are needed to preserve

internal order and discipline and to maintain institutional security.” Hatim, 760 F.3d

at 59 (cleaned up).

             1.       Section 4(a) does not violate equal protection

                      (a)   Section 4(a) satisfies Turner’s deferential standard.

      Applying the above principles here, Plaintiffs are unlikely to succeed in

establishing an Equal Protection violation. As to BOP’s application of Section 4(a)

(“Privacy in Intimate Spaces”) of the Executive Order, Plaintiffs cannot demonstrate

that they are entitled to the same housing as biological female inmates. As the D.C.

Circuit has recognized, “the segregation of inmates by sex is unquestionably

constitutional.” Women Prisoners, 93 F.3d at 926. Male and female inmates are not

similarly situated, and thus, treating them differently does not violate equal

protection. Id. at 924 (“[The dissimilar treatment of dissimilarly situated persons

does not violate equal protection.”). That is especially true with respect to intimate

areas, such as living spaces. See Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty.,

57 F.4th 791, 804 (11th Cir. 2022) (en banc) (recognizing the “generally acceptable

notion that the protection of individual privacy will occasionally require some

segregation between the sexes is beyond doubt”).

      Even if Plaintiffs were considered similarly situated to biologically female

inmates, their Equal Protection challenge would still fail. Equal Protection does not

require BOP to recognize exceptions to a plainly constitutional classification. Indeed,

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under the comparable rational-basis review, a classification does not fail simply

because it “is not made with mathematical nicety or because in practice it results in

some inequality.”     Dandridge v. Williams, 397 U.S. 471, 485 (1970).            Rather,

legislative classifications may be “both underinclusive and overinclusive” and

“perfection is by no means required.” Vance v. Bradley, 440 U.S. 93, 108 (1979); see

also Heller v. Doe, 509 U.S. 312, 321 (1993) (under rational-basis review, a classification

does not violate equal protection “even when there is an imperfect fit between means

and ends”); Steffan v. Perry, 41 F.3d 677, 687 (D.C. Cir. 1994) (same). This is so

because the task of classifying persons “inevitably requires that some persons who

have an almost equally strong claim to favored treatment be placed on different sides

of the line.” Fitzgerald v. Racking Ass’n of Central Iowa, 539 U.S. 130, 108 (2003)

(quotation marks omitted).

       The policy of housing inmates according to their biological sex readily

withstands scrutiny under Turner’s deferential standard because the Executive has

a legitimate penological interest in protecting the safety, well-being, and dignity of

women inmates, who could have privacy and security concerns about being housed

with individuals of the opposite biological sex. The Executive has determined that it

is better for prison management and security to treat all biological male inmates

similarly by housing them in men’s facilities, which in turn would also protect women

inmates’ safety and privacy concerns in intimate spaces. See Hatim, 760 F.3d at 59

(“Prison security . . . is beyond cavil a legitimate governmental interest.”). BOP’s

implementation of Section 4(a) has a rational connection to furthering these interests.

While the government previously chose to accommodate Plaintiffs by housing them

in women’s facilities, “a change in administration brought about by the people casting

their votes is a perfectly reasonable basis for an executive agency’s reappraisal of the

costs and benefits of its programs and regulations.” See Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 59 (1983) (Rehnquist, J.,

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concurring in part, dissenting in part). The Court accordingly should defer to the

Executive’s reasonable judgment.

       Plaintiffs contend that Section 4(a) “fail[s] even rational basis review” because

it is “based on animus toward transgender people.” Pls.’ Mem. at 16. However, unlike

in the “few occasions” where the Court has struck down a policy on animus grounds,

here “it cannot be said that it is impossible to discern a relationship to legitimate

state interests or that the policy is inexplicable by anything but animus,” Trump v.

Hawaii, 585 U.S. 667, 706 (2018), as demonstrated above. Indeed, a bare desire to

harm an unpopular group is inferred only when the government cannot point to any

legitimate government interest to justify the challenged classification, see, e.g., City

of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 450, (1985), which is not the case

here. Section 4(a)’s requirement that all biological male inmates be placed in men’s

facilities is supported by the legitimate penological interests discussed above and is

premised upon “basic biological differences” between men and women. Tuan Anh

Nguyen v. I.N.S., 533 U.S. 53, 73 (2001).

       Johnson v. California, 543 U.S. 499 (2005), does not support Plaintiffs’

argument that heightened scrutiny applies here. Johnson concerned a classification

by race, not a classification by sex. While Johnson cabined Turner’s deferential

standard as to racial classifications, this Court properly recognized in Doe that

“[t]here is good reason to doubt that Johnson’s cabining of Turner applies to laws that

discriminate among inmates on the basis of sex.” 2025 WL 388218, at *4. As the

Court explained:

       Johnson stressed that “[t]he right not to be discriminated against based
       on one’s race is not susceptible to the logic of Turner” because that right
       need not “be compromised for the sake of proper prison administration.”
       [543 U.S. at 510.] By contrast, “the segregation of inmates by sex is
       unquestionably constitutional” because it is reasonably related to
       legitimate prison management concerns.” [Women Prisoners, 93 F.3d at
       926.]
Id. at *4.

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       Plaintiffs also again seek to rely on Pitts v. Thornburgh, 866 F.2d 1450 (D.C.

Cir. 1989), to suggest that heightened scrutiny should apply. Pls.’ Mem. at 11. As

this Court previously recognized, however:

       The Pitts Court was careful to distinguish Turner, noting that Turner
       “applies to cases involving regulations that govern the day-to-day
       operation of prisons and that restrict the exercise of prisoners’
       individual rights within prisons,” whereas heightened scrutiny was
       appropriate in cases “challeng[ing] general budgetary and policy choices
       made over decades in the give and take of city politics.”
2025 WL 388218, at *4 (citing Pitts, 866 F.2d at 1453–54.) Accordingly, “[t]he case at

hand appears to more nearly resemble Turner than Pitts.”

                     (b)    Section 4(a) does not discriminate based on sex.

       Plaintiffs cite cases applying the Supreme Court’s Title VII-specific conclusion

in Bostock v. Clayton County, 590 U.S. 644 (2020), in arguing that placing biological

male inmates who identify as female in men’s facilities constitutes sex discrimination.

In Bostock, the Supreme Court reasoned that Title VII’s prohibition on sex

discrimination incorporated a but-for causation standard and held that when an

employer fires an employee because that employee is gay or transgender, sex is

necessarily a but-for cause of such discrimination. 590 U.S. at 656, 668-69, 683.

       Bostock is inapposite. As an initial matter, Bostock proceeds from the premise

that an employer discriminates against a person because of sex where the employer

“treat[s] that individual worse than others who are similarly situated.” Bostock, 590

U.S. at 657. But, as discussed above, biological men and biological women are not

similarly situated with respect to their appropriate housing during a period of

incarceration. Thus, the decision to segregate biological males and biological females

when housing inmates is not discrimination.

       Moreover, the Supreme Court’s conclusion in Bostock was derived entirely from

Title VII’s “plain terms,” id. at 676, which provide, in relevant part, that it is unlawful

for an employer “to discharge any individual, or otherwise to discriminate against


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any individual with respect to his compensation, terms, conditions, or privileges of

employment, because of such individual’s . . . sex,” 42 U.S.C. § 2000e-2(a)(1). The text

of the Equal Protection Clause does not contain any similar language. For that

reason, courts have recognized that Title VII and the Equal Protection Clause have

different purposes and different functions. See, e.g., L. W. by & through Williams v.

Skrmetti, 83 F.4th 460, 484-85 (6th Cir.) (discussing the “[d]ifferences between the

language of the statute and the Constitution” along with the distinct principles at

play in the Equal Protection Clause and Title VII), cert. granted sub nom. United

States v. Skrmetti, 144 S. Ct. 2679 (June 24, 2024). Disparate impact claims, for

example, are available under Title VII, see Griggs v. Duke Power Co., 401 U.S. 424,

429–30 (1971), but not under the Fourteenth Amendment, see Washington v. Davis,

426 U.S. 229, 238–39 (1976).

      Tellingly, the Supreme Court in Bostock rejected the employer’s argument in

that to isolate sex, the Court had to keep all other variables constant. 590 U.S. at

671. The Court reasoned that “[t]he employers might be onto something if Title VII

only ensured equal treatment between groups of men and women.”              Id.   Equal

treatment, of course, is the Equal Protection analysis here. Lest there be any doubt,

“the Court in Bostock was clear on the narrow reach of its decision and how it was

limited only to Title VII itself.” Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th

Cir. 2021); see also Bostock, 590 U.S. at 681 (rejecting concern that the Court’s

decision would “sweep beyond Title VII to other federal or state laws that prohibit

sex discrimination”). Bostock’s Title VII-specific analysis is thus inapplicable here.

                    (c)   Individuals who identify with the opposite biological
                          sex do not constitute a quai-suspect class.
      Plaintiffs also contend that the classification warrants intermediate scrutiny

because in Plaintiffs’ view, individuals who identify with the opposite biological sex

constitute a constitutionally protected class. See Pls.’ Mem. at 13. But the Supreme


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Court has never “recognized transgender status as a suspect class.” Skrmetti, 83

F.4th at 486. Nor has it recognized any new constitutionally protected class in almost

half a century. See Craig v. Boren, 429 U.S. 190 (1976) (sex constitutes quasi-suspect

class). Instead, it has repeatedly declined to do so. See City of Cleburne v. Cleburne

Living Ctr., 473 U.S. 432, 442 (1985) (mental disability); Mass. Bd. of Ret. v. Murgia,

427 U.S. 307, 313–14 (1976) (age); San Antonio Indep. Sch. Dist. v. Rodriguez, 411

U.S. 1, 28–29 (1973) (poverty); see also Obergefell v. Hodges, 576 U.S. 644 (2015)

(declining to address whether gay people qualify as quasi-suspect class).

      “Transgender status,” in any event, does not give rise to a constitutionally

protected class when considering the factors the Supreme Court has used to make

such determinations: a “discrete group” defined by “immutable” characteristics that

is “politically powerless” and has suffered a history of discriminatory treatment. See

Lying, 477 U.S. at 638 (citing Murgia, 427 U.S. at 313–14). Individuals who identify

with the opposite biological sex do not “exhibit obvious, immutable, or distinguishing

characteristics that define them as a discrete group.” Bowen v. Gilliard, 483 U.S.

587, 602 (1987).   Their self-identification with the opposite biological sex is not

“necessarily immutable, as the stories of ‘detransitioners’ indicate.” Skrmetti, 83

F.4th at 487. Further, the status is not characterized by a specific defining feature,

but instead may be said to include “a huge variety of gender identities and

expressions.” Id. at 487; see also Br. of American Psychological Association as Amicus

Curiae at 6 n.7, United States v. Skrmetti, No. 23-477 (U.S.) (stating that

“transgender” is an “umbrella term” that covers “varied groups” and “many diverse

gender experiences”).

      Moreover, individuals who identify with an opposite biological sex are not

“political[ly] powerless[]” either. San Antonio Independent Sch. Dist. v. Rodriguez,

411 U.S. 1, 28 (1973). “A national anti-discrimination law, Title VII, protects

transgender individuals in the employment setting,” and many “States have passed

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laws specifically allowing some of the treatments sought here.” Skrmetti, 83 F.4th at

487. It is therefore untenable to claim that persons who identify with the opposite

biological sex “have no ability to attract the attention of lawmakers.” Cleburne, 473

U.S. at 445. The mere fact that they may not be able to “themselves mandate the

desired legislative responses,” and that they may “claim some degree of prejudice

from at least part of the public at large,” is insufficient. Id.   Similarly, claims of

historical injustice are not sufficient to establish a quasi-suspect class: the Supreme

Court in Cleburne “rejected the argument that mental disability is a suspect

classification, despite a history of compulsory sterilization, exclusion from public

schools, and a system of ‘state-mandated segregation and degradation.’” Eknes-

Tucker v. Governor of Alabama (“Eknes-Tucker II”), 114 F.4th 1241, 1266 (11th Cir.

2024) (Lagoa, J., concurring) (quoting Cleburne, 473 U.S. at 462–63 (Marshall, J.,

concurring in the judgment and dissenting in part)).

      In sum, because Plaintiffs do not belong to a constitutionally protected class,

heightened scrutiny does not apply.

                    (d)   Section 4(c) would survive even heightened scrutiny.

      Even if the Turner standard does not apply and BOP’s application of Section

4(a) is reviewed under heightened scrutiny, it would survive heightened scrutiny as

well. “Heightened scrutiny does not eliminate appreciation of both the difficulties

confronting prison administrators and the considerable limits of judicial competency,

informed by basic principles of separation of powers.” Pitts v. Thornburgh, 866

F.2d1450, 1455 (1989) (rejecting equal protection sex-discrimination challenge under

heightened scrutiny). Heightened scrutiny “must not substitute the court’s presumed

expertise for that of prison administrators as the court evaluates administrator’s

choices of one course over others.” Id.; see also Harrison v. Kernan, 971 F.3d 1069,

1079 (9th Cir. 2020) (“Under heightened scrutiny, the deference owed to judgments



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made by prison officials is factored into the importance of the government’s asserted

interest.”).

       Here, the government has “specifically asserted the governmental interest that

supports the contested policies,” Pitts, 866 F.2d at 1456—i.e., the safety, well-being,

and privacy of inmates in intimate spaces. And Section 4(a) of the Executive order is

“directly and substantially related” to that important government interest.          Id.

Accordingly, Section 4(a) would survive even heightened scrutiny.

               2.   Section 4(c) does not violate equal protection

       As for Section 4(c), Plaintiffs’ equal protection challenge to its implementation

is premature. Section 4(c) requires BOP to “revise[] its policies concerning medical

care to be consistent with this order.” Although it further provides that BOP shall

ensure that “no Federal Funds are expended for any medical procedures, treatment,

or drug for the purpose of conforming an inmate’s appearance to that of the opposite

sex,” BOP has not yet revised its guidance to implement that provision, nor has it

explained what medical care might fall within that prohibition. Thus, it remains

unclear whether Plaintiffs will be deprived of any treatment for gender dysphoria.

Thus, Plaintiffs’ claims challenging the discontinuation of medical care are unripe.

       “[A] case is unripe for review when any prediction how the Government might

eventually implement a policy is no more than conjecture.”           Saline Parents v.

Garland, 88 F.4th 298, 308 (D.C. Cir. 2023) (alterations and quotation marks

omitted), cert. denied, No. 23-1135, 2024 WL 4426566 (U.S. Oct. 7, 2024). “Absent a

concrete factual context, determination of the scope and constitutionality of a

purported government policy in advance of its immediate adverse effect involves too

remote and abstract an inquiry for the proper exercise of the judicial function.” Id.

at 307 (alteration and quotation marks omitted). Because the medical care guidance

at issue has not yet been developed or applied, Plaintiffs’ challenge to that guidance

“rests on hypotheticals that are too remote, speculative, and abstract for judicial

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review.” Id. at 308. The Court therefore should not offer an advisory opinion. Abbott

Labs. v. Gardner, 387 U.S. 136, 148 (1967) (courts should not “entangl[e] themselves

in abstract disagreements” by engaging in “premature adjudication”). Instead, this

Court should presume, in accordance with the Executive Order’s text, that the yet-to-

be revised guidance will be implemented in a manner consistent with the

Constitution, including the provision of constitutionally minimum adequate medical

care under the Eighth Amendment. See Exec. Order 14168, § 8(b).

      Even if Plaintiffs’ claim were ripe, Section 4(c) does not violate Equal

Protection. That section does not classify individuals based on sex or any other

constitutionally protected status, and thus, it would be subject only to rational basis

review. Section 4(c) easily satisfies rational basis review because there is a legitimate

government interest in not using Federal funds to change an inmate’s appearance.

See, e.g., Windsor v. United States, 699 F.3d 169, 186 (2d Cir. 2012) (“Fiscal prudence

is undoubtedly an important government interest.”), aff'd, 570 U.S. 744 (2013).

Importantly, Plaintiffs have not shown that BOP will deny Plaintiffs medically

necessary care that it provides to inmates who do not identify with the opposite

biological sex, especially considering that BOP has not yet revised its guidance on

medical care.

      C.     Plaintiffs Are Unlikely to Succeed on their APA Claim

      Plaintiffs’ APA claim is unlikely to succeed because, as a threshold matter, the

PLRA prohibits a prisoner from challenging “place of imprisonment” under the APA.

The PLRA provides that the APA “do[es] not apply to the making of any

determination, decision, or order under [Title 18, Part II, Chapter 229, Subchapter

C].” 18 U.S.C. § 3625. Subchapter C includes 18 U.S.C. § 3621(b), which governs the

“place of imprisonment.”       The Court accordingly previously recognized that

Defendants “may be correct that these statutory provisions foreclose any APA

challenges to facility designations and transfer decisions.” 2025 WL 388218, at *2.

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      BOP also has not taken any “final agency action” as to Plaintiffs’ medical care;

yet, under the APA, “judicial review is available only for ‘final agency action.’” Corner

Post, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 603 U.S. 799, 808 (2024) (citing 5

U.S.C. § 704). Plaintiffs have acknowledged that “Executive orders issued by the

President are not subject to the APA,” but suggest that “an agency’s action

implementing such an order may be the basis of an APA claim.” ECF No. 5 at 19.

But at least as to medical care, Plaintiffs have not identified an action that “mark[s]

the consummation of the agency’s decisionmaking process” and is “one by which

rights or obligations have been determined, or from which legal consequences will

flow.” Bennett v. Spear, 520 U.S. 154, 177–178 (1997) (internal quotation marks

omitted). As noted, BOP has not revised its policies concerning medical care. Nor

has it altered Plaintiffs’ medical treatment.

      Even assuming Plaintiffs can overcome these significant threshold hurdles,

Plaintiffs’ APA claim is not likely to succeed. Plaintiffs first contend that BOP’s

transfer decisions “effectively rescind[] PREA regulations.” Pl.’s Mem. at 22. The

cited PREA regulations, however, merely require BOP to consider Plaintiffs’

identification with a particular sex when deciding on the facility to house Plaintiffs.

The PREA regulations do not require that a biological male self-identifying as a

female be placed in a female institution. Transferring Plaintiffs to men’s facilities

therefore does not violate the PREA regulations.

      As discussed above, the PREA regulations are designed to achieve “the goal of

keeping separate those inmates at high risk of being sexually victimized from those

at high risk of being sexually abusive.” 28 C.F.R. § 115.42(a). To that end, § 115.42(c)

provides:

      In deciding whether to assign a transgender or intersex inmate to a
      facility for male or female inmates, and in making other housing and
      programming assignments, the agency shall consider on a case-by-case


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      basis whether a placement would ensure the inmate’s health and safety,
      and whether the placement would present management or security
      problems.
The regulations also require prison officials to give “serious consideration” to “[a]

transgender or intersex inmate’s own views with respect to his or her own safety.”

Id. § 115.42(e). But there is no requirement that an inmate be placed in a facility

that is consistent with the inmate’s preferred gender. While BOP has permitted that

option in the past, the regulation merely requires BOP to conduct a case-by-case

assessment as to the proper placement of each inmate, id. § 115.42(c), considering a

range of factors identified in the regulations, id. § 115.41(d), which BOP has done.

      Finally, Plaintiffs contend that BOP’s action is arbitrary and capricious

because it “fails to consider important aspects of the problem,” “depart[s] from agency

precedent without explanation,” and “rel[ies] on pretextual or contrived reasoning.”

Pls’ Mem. at 23. But “[a]gencies are free to change their existing policies as long as

they provide a reasoned explanation for the change.” Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 221–22 (2016). As noted, over time BOP has changed its

policies concerning inmates who identify with the opposite biological sex.          The

Supreme Court has made clear that agency action is not subject to a heightened or

more searching standard of review simply because it represents a change in policy.

See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 514–15 (2009). Rather, the

core requirement is simply that the agency “display awareness that it is changing

position.” Id. at 515; see also Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032,

1037 (D.C. Cir. 2012) (“[A]n agency’s view of what is in the public interest may

change, either with or without a change in circumstances.”). The Executive Order

has articulated why the Executive has changed its policy. Plaintiffs’ disagreement

with the new policy is insufficient to show that the policy is arbitrary and capricious,

let alone warranting emergency injunctive relief.



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         D.    Plaintiffs Are Unlikely to Succeed on their Separation-of-
               Powers Claim
         Plaintiffs are also unlikely to succeed on their new claim that the President

acted “ultra vires” by directing the Attorney General, in Section 4(c) of the Executive

Order, to ensure that no Federal funds be expended “for the purpose of conforming

an inmate’s appearance to that of the opposite sex.” Pls.’ Mem. at 5, 17–19. Plaintiffs

contend that Section 4(c) “violates the constitutional separation of powers, encroaches

on Congress’s Spending and Appropriations powers, and violates the Bicameralism

and Presentment requirements by repealing statutes.” Pls.’ Mem. at 17. None of

these arguments has merit.

         As an initial matter, Plaintiffs’ claim is not ripe because, as explained, BOP

has not yet revised its guidance on the medical care at issue. Accordingly, the premise

of Plaintiffs’ argument—that the President is “withhold[ing] funds appropriated to

BOP for necessary medical care,” Pls.’ Mem. at 18—is unfounded. Again, the Court

cannot assume that BOP’s yet-to-be-revised guidance will result in the denial of

necessary medical care to any of the Plaintiffs.

         Even if Plaintiffs could overcome the ripeness hurdle, their claim fails on the

merits. BOP’s funding for medical care expenses comes from the general Salary and

Expenses appropriation, which provides (in the FY2024 consolidated appropriations

bill):

         For necessary expenses of the Federal Prison System for the
         administration, operation, and maintenance of Federal penal and
         correctional institutions, and for the provision of technical assistance
         and advice on corrections related issues to foreign governments,
         $8,392,588,000: Provided, That not less than $409,483,000 shall be for
         the programs and activities authorized by the First Step Act of 2018
         (Public Law 115–391), . . . . : Provided further, That the Attorney
         General may transfer to the Department of Health and Human Services
         such amounts as may be necessary for direct expenditures by that
         Department for medical relief for inmates of Federal penal and
         correctional institutions: Provided further, That the Director of the
         Federal Prison System, where necessary, may enter into contracts with

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       a fiscal agent or fiscal intermediary claims processor to determine the
       amounts payable to persons who, on behalf of the Federal Prison
       System, furnish health services to individuals committed to the custody
       of the Federal Prison System . . . .
Pub. L. No. 118-42, § 2, div. C, tit. II, 138 Stat. 25, 140 (2024).

       Nothing in this general grant of funding requires BOP to expend funds “for the

purpose of conforming an inmate’s appearance to that of the opposite sex.” Exec.

Order 14168, § 4(c). This case is thus nothing like In re Aiken County, where the

court held that the agency at issue was “ignor[ing] statutory mandates.” 725 F.3d

255, 260 (D.C. Cir. 2013). Nor is it like City & County of San Francisco v. Trump,

897 F.3d 1225 (9th Cir. 2018), where the President sought to withhold from

“sanctuary jurisdictions” all Federal grant funding that Congress had authorized. Id.

at 1231.

       Rather, § 4(c) simply provides direction as to how the Attorney General should

use funds that Congress has appropriated to BOP—i.e., they are not to be used to

conform an inmate’s appearance to that of the opposite sex.           Courts have long

recognized the President’s authority to direct subordinate agencies’ activities in such

a manner. See, e.g., Bldg. & Const. Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28,

32 (D.C. Cir. 2002) (“[T]he President’s power necessarily encompasses ‘general

administrative control of those executing the laws,’ throughout the Executive Branch

of government, of which he is the head.” (quoting Myers v. United States, 272 U.S. 52,

164 (1926))); Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012) (“[A]s an agency
under the direction of the executive branch, it must implement the President’s policy

directives to the extent permitted by law.”); Sierra Club v. Costle, 657 F.2d 298, 406

n.524 (D.C. Cir.1981) (“The ordinary duties of officers prescribed by statute come

under the general administrative control of the President by virtue of the general

grant to him of the executive power, and he may properly supervise and guide their

construction of the statutes under which they act[.]”).


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        Plaintiffs’ contention that § 4(c) “encroaches Congress’s Spending and

Appropriations powers” is similarly unavailing. Pls.’ Mem. at 17. Plaintiffs do not

develop this argument in any detail in their brief. The Spending Clause simply

provides that Congress has the power to “lay and collect Taxes, Duties, Imports, and

Excises, to pay the Debts and provide for the common Defence and general Welfare

of the United States.” U.S. Const. art. I, § 8, cl. 1. Plaintiffs never explain how the

President’s direction about how an agency under his control should use appropriated

funds violates the Spending Clause. Nor do Plaintiffs explain how § 4(c) violates the

Appropriations Clause, which simply provides that “[n]o Money shall be drawn from

the Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. art.

I, § 9, cl. 7.

        Finally, § 4(c) does not violate “the Bicameralism and Presentment

requirements of the Constitution.” Neither the President nor BOP has modified or

repealed any statute contrary to those requirements. See U.S. Const. art. I, § 7.

III.    PLAINTIFFS HAVE NOT DEMONSTRATED IRREPARABLE HARM

        Not only are Plaintiffs unlikely to succeed on the merits, but they have also

failed to “demonstrate irreparable harm,” which is “grounds for refusing to issue a

preliminary injunction, even if the other three factors . . . merit such relief.” Nat’l

Mining Ass’n v. Jackson, 768 F. Supp. 2d 34, 50 (D.D.C. 2011) (quoting Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)). “In this Circuit,

a litigant seeking a preliminary injunction must satisfy ‘a high standard’ for

irreparable injury.” ConverDyn v. Moniz, 68 F. Supp. 3d 34, 46 (D.D.C. 2014) (quoting

Chaplaincy of Full Gospel Churches, 454 F.3d at 297). Plaintiffs must demonstrate

that they face an injury that is “both certain and great; it must be actual and not

theoretical.” Wis. Gas. Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985).

        Here, Plaintiffs have not demonstrated a likelihood of irreparable harm,

largely for reasons already discussed. Plaintiffs have not shown that Section 4(c) of

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the Order will result in irreparable harm because BOP has not yet revised its policies

concerning medical care, and so it is not yet clear how, if it all, the revised policies

will affect Plaintiffs’ medical care.   Nor have Plaintiffs demonstrated that the

upcoming transfer to a men’s facility will result in physical harm, given that the vast

majority of biological male inmates who identify as female are currently housed in

male facilities and that BOP intends to minimize any risk to Plaintiffs by transferring

them to low security institutions with large populations of non-violent offenders.

IV.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR
      DEFENDANTS
      “Prison administrators, and not the courts, are to make difficult judgments

concerning institutional operations,” Turner, 482 U.S. at 89, and courts “must accord

prison administrators wide-ranging deference in the adoption and execution of

policies and practices that in their judgment are needed to preserve internal order

and discipline and to maintain institutional security,” Hatim, 760 F.3d at 59. As

discussed above, the President, as the head of the Executive Branch with ultimate

responsibility for the operation of its prisons, has deemed it important to protect the

safety, well-being, and privacy of female inmates in intimate spaces when they are in

federal custody. Regardless of the public debate over these issues, there is a public

interest in deferring to the Executive Branch’s determination as to the operations of

the federal prisons, particularly given that the Executive Order is to be implemented

in a manner “consistent with applicable law,” including the Constitution. Exec. Order

14168 § 8(b).

V.    ANY INJUNCTIVE RELIEF MUST COMPLY WITH THE PLRA AND
      BE LIMITED TO THE NAMED PLAINTIFFS
      Although the Court should not issue any injunctive relief for the reasons

explained above, if it is inclined to do so, it should adhere to PLRA’s restrictions.

Under the PLRA, “[p]rospective relief in any civil action with respect to prison

conditions shall extend no further than necessary to correct the violation of the

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Federal right of a particular plaintiff or plaintiffs.” 18 U.S.C. § 3626(a)(1). As to

preliminary injunctive relief specifically, such relief “must be narrowly drawn, extend

no further than necessary to correct the harm the court finds requires preliminary

relief, and be the least intrusive means to correct the harm.” Id. § 3626(a)(2). The

court “shall give substantial weight to any adverse impact on public safety or the

operation of the criminal justice system caused by the preliminary relief.”           Id.

Moreover, “[p]reliminary injunctive relief shall automatically expire on the date that

is 90 days after its entry, unless the court makes the findings required under [18

U.S.C. § 3626(a)(1)] for the entry of prospective relief and makes the order final before

the expiration of the 90-day period.”       Id.   Any order granting prospective or

preliminary relief would need to comply with these provisions of the PLRA.

      Specifically, any TRO or preliminary injunction should apply to the named

Plaintiffs only. A broader nationwide injunction would transgress not only Article III

principles, but also the PLRA’s specific requirement that relief be “narrowly drawn”

and “extend no further than necessary to correct the harm the court finds requires

preliminary relief.” Id. § 3626(a)(2). Consistent with this requirement, the Court has

correctly limited the preliminary injunction currently in effect to the three original

Plaintiffs. See Prelim. Inj. at 2, No. 25-cv-286, ECF No. 44. The Court thus should

reject Plaintiffs’ request that the Court “issue a facial injunction” that would apply to

parties not before this Court. Pls.’ Mem. at 4 n.1.

                                   CONCLUSION

      The Court should dismiss the case under the PLRA. At a minimum, the Court

should deny Plaintiffs’ motion for a temporary restraining order. If the Court enters

a TRO, however, Defendants respectfully request 10 days from the date of that order

to file an opposition to Plaintiffs’ motion for a preliminary injunction.




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Dated: February 23, 2025          Respectfully submitted,

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